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                                            #892



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )
                                                )
v.                                              )                     NO. 97-CR-30089-WDS
                                                )
DERRICK S. MITCHELL,                            )
#04184-025                                      )
           Defendant.                           )


                                  MEMORANDUM & ORDER

STIEHL, District Judge:

       Before the Court is defendant=s pro se motion for reconsideration (Doc. 930) of the Court’s

Order of June 20, 2012 granting in part his prior motion for reconsideration (Doc. 903). The Court

previously reduced the defendant’s sentence to a total sentence of 262 months, consisting of 240

months on Counts 2, 3 and 5 to be served concurrently and 22 months on Count 9 to be served

consecutively to the sentences on Counts 2, 3, and 5. Defendant seeks further reduction in his

sentence based upon his efforts while incarcerated to improve himself, his desire to be with his

minor children, and return to his family. He asserts that he is a changed man. He also seeks the

Court’s assistance in his efforts to gain clemency.

       The Court has previously considered defendant’s request to be reduced to a Level 34 in this

case. The Court has reviewed the record, and determined that defendant was engaged for a period

of at least 5 years in the sale of crack cocaine, nearly every day. He bought and sold both crack and

powder cocaine and was known to always be in possession of a firearm. The Court is very pleased

with the progress the defendant has made. The Court notes that his family and community are very

supportive of him, and genuinely seek to have him returned to them. However, the defendant’s
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involvement in the overall drug distribution network was more than casual or occasional.

Although the Court understands that the defendant has made substantial progress towards turning

his life around and is hopeful that he will, upon release, devote himself to living a life within the

law, the Court cannot, at this time, grant him the relief he seeks for a further reduction.

       Accordingly, the Court must DENY defendant’s motion for reconsideration. (Doc. 930).



IT IS SO ORDERED.

DATE: 09 January, 2013



                                               /s/ WILLIAM D. STIEHL
                                                    DISTRICT JUDGE




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